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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


KEVIN GREEN,
      GREEN.                                                                        SECOND
JULIAN PEREZ,                                                                       AMENDED COMPLAINT
NICK CIECHALSKI

                                          Plaintiff,                                            :23-cv-01166
                                                                                    Civ. No.: 11:23-cv-01


vs.


CITY OF BUFFALO.
BATTALION CHIEF RONALD K. BOURGEOIS.  BOURGEOIS, Individually
and in his Official Capacity as Battalion Chief,
COMMISSIONER WILLIAM RENALDO. Individually and in
his Official Capacity as Commissioner
DEPUTY COMMISSIONER RAMON SUAREZ. Individually
and in his Official Capacity as Deputy Commissioner
MAYOR BYRON BROWN

                                          Defendants.



                Plaintiffs, Kevin Green, Julian Perez, and Nick Ciechalski, by and through their

           Tivcron Law, PLLC, as and for their Amended Complaint against Defendants City of
attorneys, Tiveron

Buffalo, Commissioner William Renaldo, Battalion Chief Ronald Bourgeois.
                                                              Bourgeois, Deputy

Commissioner Ramon Suarez, and Mayor Byron Brown alleges as follows:

                                                     NATURE OF CASE

                1.     This is an action to recover damages and other relief pursuant to 42 U.S.C.

§ 1983 for violations of Plaintiffs' constitutional rights; and 42 U.S.C. §§ 1985 and 1986
                                                                          §§1985

for conspiracy to interfere with Plaintiffs' constitutional rights. There is also a New York State

Cause of Action for New York Human Rights Executive Law § 296.

                2.     Plaintiffs' claims arise from unconstitutional conduct of the Defendants

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targeting Plaintiffs in violation of equal protection under the laws or any other New York causes

of action.

              3.    Plaintiffs were subject to intimidation by Defendants Battalion Chief Ronald

Bourgeois, Commissioner William Renaldo and Deputy Commissioner Ramon Suarez who

were acting as agents of the remaining Defendants.

                                                          PARTIES

              4.    Plaintiff, Kevin Green ("Green"), is a former Buffalo Fire recruit, who attended

the Buffalo Fire Academy in 2020.

              5.    Plaintiff. Julian Perez ("Perez"), is a former Buffalo Fire recruit, who started at

the Buffalo Fire Academy in 2020, residing at 250 Saranac Avenue, Buffalo, New York 14216.

              6.    Plaintiff, Nick Ciechalski ("Ciechalski"), is a former Buffalo Fire recruit residing

at 108 Meridan Street, Buffalo, New York 14220.

              7.    Defendant, City of Buffalo (“City”), is a municipality in New York, with offices

at 65 Niagara Square, Buffalo. New York 14202.

              8.    Defendant, Commissioner William Renaldo ("Commissioner" or "Renaldo"), is

the Commissioner of the Buffalo Fire Department with his office at 195 Court Street. Buffalo,

New York 14202.

              9.    Defendant. Deputy Commissioner Ramon Suarez ("Deputy Commissioner" or

"Suarez"), is a deputy commissioner at the Buffalo Fire Department with offices located at 195

Court Street, Buffalo, New York. 14202.

              10.   Defendant, Fire Chief Ronald Bourgeois ("Chief of Training" or "Bourgeois"),

was the Training Chief and the Municipal Training Officer at the Buffalo Fire Department during

the period that the Plaintiffs were enrolled in the Buffalo Fire Academy in 2020.



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               11.   Defendant. Mayor Byron Brown ("Mayor" or "Brown"), was the Mayor of

Buffalo during the period the Plaintiffs were enrolled in the Buffalo Fire Academy in 2020.

               12.   During the time Plaintiffs were at the Buffalo Fire Academy, Shannon Street was

the Deputy Commissioner for the Buffalo Fire Department. As pail of his duties. Deputy

Commissioner Street managed personnel as part of the Buffalo Fire Department. Historically, the

Deputy Commissioner for B-51 managed the recruits of the Buffalo Fire Academy and oversaw

the Chief of Training to handle all issues of personnel. Shannon Street was appointed Deputy

Commissioner of the Buffalo Fire Department in charge of Personnel by Mayor Byron Brown on

July 16, 2018 until his removal on January 3, 2020. See Exhibit B.

               13.   Shannon Street observed systematic racism and politicization at the Buffalo Fire

Department Academy which is charged with the training of new recruits. Id.

               14.   During the course of his job, Shannon Street brought issues regarding Bourgeois

to the Commissioner’s attention, but these matters were not addressed. Specifically, Bourgeois

had been circumventing the chain of command and refusing to communicate with Shannon

Street who had been advocating for some of the recruits who Bourgeois had attempted to take

adverse action against for questionable reasons. Id.

               15.   Shannon Street had complained multiple times to the Commissioner that

Bourgeois was not properly reporting to him and following the chain of command. Upon

information and belief. Bourgeois circumvented Shannon Street's review of his personnel

decisions, and circumventing his ability to review dismissal actions of new recruits in the

Buffalo Fire Academy.

               16.   When Shannon Street brought these issues up with the Commissioner, oversight

over Bourgeois and the Recruits in the Buffalo Fire Academy was moved from Shannon Street to



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Deputy Commissioner Ramon Suarez who was the Deputy of B-52 which managed tools,

equipment, and apparatus and not handled these issues in the past.

                17.   As a result of this situation. Deputy Commissioner Shannon Street would not be

communicated with on matters affecting recruitment issues and personnel issues including

tennination of recruits from Buffalo Fire Academy. Upon information and belief, Shannon Street

would receive no notice of issues with recruits, and termination would only occasionally cross

his desk when they were seeking someone to sign off on the dismissal without proper discussion

of the issues.

                18.   Shannon Street eventually brought his concerns directly to the Mayor, and

brought to his attention egregious instances of racial and gender prejudice and political

favoritism. Id.

                19.   Shannon Street was demoted from his position as Deputy Commissioner and

finished out his career as a Captain. Upon information and belief, Shannon Street was demoted

for standing up for recruits and personnel who had adverse actions taken against them by

Defendants. Upon Information and Belief, Shannon Street's role as Deputy Commissioner was

given to Captain Paul Eason Jr after his departure who had previously worked closely with

Defendant Bourgeois and was amenable to the discriminatory actions of Defendants. See Id.

                20.   Deputy Commissioner Ramo Suarez exercised little to no oversight or review of

the tennination decisions and other actions that were carried out by Bourgeois. As a result,

during the period that Plaintiffs were enrolled and ultimately terminated from the Buffalo Fire

Academy they had no proper process of review to prevent tennination on improper grounds

including racial discrimination and age discrimination.




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                21.   Upon infonnation and belief, a number of minority recruits who were having

issues with the evaluation standards in the academy attempted to have a meeting with

Commissioner Renaldo. These recruits were denied a meeting and turned away without any

avenue to address their concerns. A short time after, white recruits from the academy who were

concerned with evaluation standards were brought into Commissioner Renaldo's office to

discuss the matter.

                22.   Upon infonnation and belief, in March 2019 a black recruit was elbowed by

another white recruit who called the recruit a "fucking nigger." The black recruit was called into

Defendant Bourgeois office who informed the black recruit he needed to be written up for the

incident. Bourgeois listened to both sides of the story and said both would be written up but only

the black recruit was asked to sign a paper.

                23.   This black recruit was later put into a company with this white recruit. On June

10'h, five days before graduation the black recruit was called into Bourgeois' office where he was

informed that everything looked good for graduation. Later, this black recruit was called in and

kicked out of the Fire Academy without explanation and later told it was for "insubordination".

                24.   Upon information and belief, Defendants have records that show this black recruit

outperformed four white recruits who were retained by the Defendants including a recruit named

Matthew Kieta who had previously been disciplined for his behavior and conduct.

                25.   In 2020, the Buffalo Fire Academy took a class of about 50 students including the

Plaintiffs in this action.

                26.   The program start was delayed four months to July 2020 due to the COVID-19

pandemic.




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               27.   As the Chief of Training, Bourgeois was authorized by State Statute to

recommend minimum standards of education and physical condition required of each candidate

for any firefighter position and develop and conduct an examination program to certify fire

service personnel who satisfactorily demonstrate their ability to meet the requirements of the fire

service training and education program standards. (Exhibit A at 14).

               28.   According to the Rules and Regulations of the Buffalo Fire Academy, no recruit

will graduate from the Buffalo Fire Department Academy Recruit Firefighter Training Program

if in the opinion of the Chief of Training, the Municipal Training Officer, or the Commission of

Fire displays any of a number of concerns.

               29.   These concerns include: "failure to perform all evolutions in accordance with

Academy Policy as prescribed by the Chief of Training." (Exhibit A at 16).

               30.   The Chief of Training was Defendant Bourgeois, and he set the policy of failure

or success for the Buffalo Fire Academy.

               31.   Upon information and belief, Defendant Bourgeois changed the rules and

regulations under which the Buffalo Fire Academy operated. Defendant Bourgeois commented

to Plaintiffs that "everyone was there on a grant, and despite what you all think, you can be fired

and we can apply the grant to others."

               32.   Under the rules and regulations it appears to permit make-up examinations in one

section with a limitation that make-up examinations will be limited to a 70% score regardless of

the actual passing score. (Exhibit A at 17). Despite this allowance, a recruit would need an

overall GPA of 70% or above to take part in graduation ceremonies and to receive passing

grades.




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                 33.   In the same rules and regulations, it is noted that the minimum passing score for

individual tests is 70% with a minimum cumulative passing score for recruits of 70%. (Exhibit A

at 24). These regulations also note that ”No retakes will be administered!" Id. The regulations

note that seven written exams will be given and count towards your GPA and a final average

below 70% shall constitute grounds for dismissal.

                 34.   Under these regulations, any recruit who failed a written exam would not be

permitted to retake the examination, and he would "fail a subject" and be subject to dismissal by

Bourgeois despite an overall GPA of above 70%.

                 35.   Upon information and belief, instructors at the 2020 Buffalo Fire Academy were

not trained as teachers or instructors but were firefighters who worked for the city who were

assigned to teach recruits with no additional training. Additionally, Bourgeois changed the

curriculum of the Buffalo Fire Academy upon return to the academy in July 2020 and there were

no updates to the teaching methods, materials, or instruction to adjust for this curriculum change.

The program was rushed and accelerated, with limited time for practice for evaluations, cutting

of remedial classes, and changing expectations.

                 36.   Plaintiffs would attend review classes to prepare for the upcoming written

examinations but Bourgeois did not go over things that would be on the examinations. Plaintiffs

would ask questions but the instructors wouldn't be able to provide them with answers as a result

of the changed curriculum.

                 37.   Upon information and belief, there were multiple questions on each test that were

disputed by recruits and other answers that had been provided by instructors.

                 38.   Upon information and belief, Rob Jackson had opened up an extracurricular

program to help some of the recruits properly learn the applicable standards and practice their



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field evaluations. This program was eventually shutdown by Defendant Bourgeois who found

out and informed the participating recruits that they would be terminated if they continued to

attend Rob Jackson's unaffiliated supplementary assistance program.

                39.   Upon information and belief, these extremely restrictive standards and poor

instruction resulted in nine recruits being dismissed from the 2020 Buffalo Fire Academy

including the Plaintiffs.

                40.   Upon information and belief, at the request of Mayor Brown and the

Commissioner, four of these recruits were retained despite Bourgeois' determination to dismiss

these recruits whereas the Plaintiffs were not provided that opportunity despite requests for

reinstatement in March 2021.

                41.   Plaintiffs' termination all arises from the discriminatory and unconstitutional

actions of Bourgeois who dictated Buffalo Fire Academy policy during his employment as Chief

of Training. This policy was adopted by Defendants Suarez, the City of Buffalo, and

Commissioner Renaldo through their actions by allowing the discriminatory conduct to continue

and failure to address it when it was brought to their attention.

                42.   On February 8, 2022. Plaintiffs' counsel received word from Defendant City of

Buffalo that it conducted an investigation and found the Buffalo Fire Department acted

appropriately and lawfully, and denied admission to Plaintiffs to the February 2022 Buffalo Fire

Academy class.

                43.   On August 22, 2022. Plaintiffs' attorneys issued a FOIL Request requesting

documents surrounding the actions in this complaint. On March 3, 2023. Plaintiffs' counsel again

requested a response regarding its FOIL Request. The Buffalo Fire Department never responded

to Plaintiffs' request, and these documents arc needed to properly adjudicate these issues.


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                                                      KEVIN GREEN

               44.   Green was accepted into the Buffalo Fire Academy in the spring of 2020 after

passing his firefighter exam and background check.

               45.   During his time at the academy, instructors were rushing through PowerPoints

and lessons and did not provide adequate support to be able to pass the coursework requirements

of the academy.

               46.   Additionally, the reading schedule was changed and out of order and many

aspects of the academic training were switched up and rushed which affected Plaintiff Green's

performance on the required academic tests.

               47.   Instructors at the Buffalo Fire Academy would respond to Green’s questions by

telling him to read a book and refused to provide him with additional assistance. To keep on top

of his schoolwork, Green would ask what readings he should reread and would ask questions

about topics he did not understand but did not receive assistance from Defendants.

               48.   Green repeatedly asked for additional help because the topics reviewed in class

and on his own time were not on the exams.

               49.   Upon information and belief, other students would ask questions that the

instructors would not or could not answer and they would simply direct students to read their

books without helping them understand the material.

               50.   There was no standardization of grading, and it was easy for instructors to

manipulate scores to prevent certain cadets from passing the Academy.

               51.   Other cadets were supposed to be terminated due to failing grades and practical

exams, but Mayor Brown and Commissioner Renaldo told the Academy not to let anyone else go

after Plaintiff had already been dismissed.



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                52.   When Plaintiff asked Defendant Bourgeois about why there was a discrepancy

between the topics reviewed and what was on the test, Defendant Bourgeois indicated he made

the test the morning that it was administered.

                53.   Plaintiff asked Defendant Bourgeois if he had used the same approach for

previous Fire Academy Classes. Upon information and belief, Defendant Bourgeois indicated

that he changed the curriculum entirely.

                54.   Bourgeois told Green that he had changed the entire curriculum, but refused to

provide Green with assistance for the new curriculum and instead pointed him to outdated

materials.

                55.   Previously, the Training Academy provided EOC time on Saturdays with actual

teachers who took the time to properly teach the material in a way it was accessible.

                56.   Green had demonstrated proficiency with the field events, passing twenty-five

(25) of a total twenty-six (26) field events.

                57.   Green was told by instructors at the Buffalo Fire Academy, that they could

terminate him even if he was on a grant.

                58.   Green was terminated by the Buffalo Fire Academy on September 7, 2020.

Buffalo Fire Academy was forced to shut down in Spring 2020. When the program started back

up, it was accelerated and class time was cut short, and practice for evaluations was cut short.

                59.   Bourgeois announced there would no longer be remedial classes offered.

                                                           JULIAN PEREZ

                60.   After years of effort, Perez passed his firefighter exam, background check, and

moved to the City of Buffalo to enroll in the Buffalo Fire Academy. Perez found out he was

admitted to the Academy in late January 2020.



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               61.   Given the late start of the Spring 2020 Academy due to the COVID-19 pandemic,

Perez anticipated a difficult academy process. In preparation for this difficult experience, Perez

did all of the assigned readings before the Academy started up in July 2020. Even with this

preparation, Perez did not anticipate the program to be accelerated and cut short in some ways

altogether.

               62.   Due to Perez’s extra work before the Academy started, he was able to keep up

academically, but despite his efforts, Perez was not able to practice the field skills prior to the

start of the Academy. At first Perez performed well on the field evaluations, and those that he

struggled with he sought assistance through remedial classes to get ongoing practice and

competence in those areas.

               63.   On August 2, 2020, on the first day back at the Academy after the COVID-19

shut down, Perez was written up for the first time. Perez was falsely accused of not finishing a

run, and refused to sign the write-up but was written up for doing                             of the workout.

               64.   On August 4, 2020, he was forced to complete CPAP training in full turnout gear,

while the rest of the company was not. Firefighter Duke told Perez, "You think you are likable.

Everyone here fucking hates you."

               65.   On August 22, 2020, during a hazmat class, Firefighter Gilliam pointed Perez out

to Firefighter Johnson Jr. and said, "Look at this piece of shit. I don’t know what the fuck he’s

still doing here.”

               66.   Later on, Perez was sent to ECMC to have his knee looked at after an injury.

Medical staff told Perez he was cleared, but to rest and ice his knee for two days. When Perez

came back from ECMC, he was put right into physical training without any consideration for his

injury.



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               67.   During the third week of evaluations, Perez had a bad showing and failed three

evaluations which left him in danger of being dismissed from the Bufalo Fire Academy.

               68.   After this performance, Perez went to remedial classes to make sure he could

perform all the field tests they would be evaluated on. However, a day after he had attended the

first remedial class. Bourgeois announced that remedial classes were being cut.

               69.   For the rest of the week. Perez learned new skills but was unable to practice them

in remedial classes to prepare for his upcoming evaluations. The next week remedial classes

were restored and Perez attended all sessions available.

               70.   During evaluations, Perez successfully completed all evaluations he had attended

remedial classes for. Despite his performance, Perez failed two skill assessments for which no

remedial classes were offered due to Bourgeois' decision to remove necessary remedial classes.

               71.   Asa result of this, Perez was dismissed from the Buffalo Fire Academy.

               72.   In addition to the lack of remedial classes, two of the evaluations that Perez failed

were a result of events outside of his control that he was not given the option to dispute.

               73.   During one field event, Perez was required to pull a hose and stop pulling at the

direction of his teammates. Perez's team ended up going over time because the instructors put

out five lengths of house instead of the four required for the evaluation.

               74.   Perez was not provided with any opportunity by Defendants to dispute this fail or

even make a comment about it but was told to sign a sheet saying that he had failed.

               75.   During another evaluation Perez was expected to cut a hole using a chain saw.

Perez had practiced this skill all week and was confident he could perform well. However, his

station was set up differently from the way it had been practiced all week.




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               16.   Despite this disadvantage, Perez cut the hole and began to shut down his

evaluation. While he was ending, an instructor told him to keep cutting and clean up a piece

underneath the hold. Perez followed his instructor’s orders, and as a result received an automatic

fail because he went over time.

               77.   Perez’s instructor broke protocol by instructing him during the exam which led to

his failure of the evaluation. If Perez had broken the chain of command and not followed orders,

he would have passed the evaluation.

               78.   Perez wrote to Gladys Herndon-Hill asking to have his role at the Academy

reconsidered but was not given reinstatement.

                                                       NICK CIECHALSKI

               79.   Ciechalski was in his early 40s when he was enrolled in the Buffalo Fire

Academy. He started at the Buffalo Fire Academy on February 2, 2020.

               80.   Ciechalski left a lucrative career at Kaleida Public Safety to become a firefighter

and serve his community.

               81.   During the course of the Academy, he was subjected to degrading comments

about his tattoos, and abusive comments about Dyngus day due to his polish heritage.

               82.   Defendant Bourgeois commented that Ciechalski must be a drug dealer because

he was driving a black Mercedes.

               83.   On July 28, 2020, Ciechalski came late to the academy and was forced by Lt.

Davis to stay in a plank position for a prolonged period as punishment for his late arrival.

               84.   Due to the excessive nature of the punishment, Ciechalski sprained his shoulder

and was put on restricted light duty.




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                85.   On August 3, 2020, he had a follow-up appointment at Great Lakes Occupational

Health with Physician Assistant Nicole Jurek. Jurek cleared him to work on August 3, 2020, full

duty, with no restrictions, but a sling needed to be worn.

                86.   Ciechalski started ladder training but his arm pain returned when he went to raise

a 35’ ladder. He was brought to ECMC by Buffalo Fire (F-12) that day.

                87.   Ciechalski received medical authorization from Commissioner Renaldo and

Suarez from August 4, 2020-September 4, 2020.

                88.   Defendants did not allow Ciechalski to frilly heal, and he was ordered by Suarez

to carry a filled bucket with mop to the fourth floor training staircase while his arm was still in a

sling.

                89.   Due to his injury, Ciechalski was released from training August 11, 2020, and

placed on medical leave of absence until next academy.

                90.   Ciechalski continued with physical therapy and on January 1, 2021 received a

functional capacity report from Howard Physical Therapy, PLLC. The report indicated that

Ciechalski had demonstrated the ability to perform most of the essential functions of a

firefighter. Ciechalski reported and demonstrated no limitations and demonstrated the ability to

occasionally lift 40 pounds overhead. The report indicated it may be advisable for Ciechalski to

continue with physical therapy progressing to a work conditioning program to ensure he can

meet all the physical demands of his job if accommodation cannot be made.

                91.   On January 25, 2021, Ciechalski received a letter terminating his employment

based on a “Memorandum of Agreement of August 11, 2020.” See Exhibit C. Defendants

refused to give Ciechalski a copy at the time. The letter claimed that one of the requirements of




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the Memorandum of Agreement was that he receive proper medical clearance by the Buffalo Fire

Department's selected physician in time to join the next class of recruit firefighters.

               92.   The letter said the City of Buffalo was notified that Ciechalski did not receive

medical clearance for the February 15. 2021 Training Academy based on the functional capacity

examination with Howard's Physical Therapy on January 5. 2021, and a consultation with Dr.

Hughes at Occupational Health on January 8. 2021.

               93.   Upon information and belief, Ciechalski never saw Dr. Hughes, though

Defendant's paperwork claimed he did.

               94.   As a result of this letter. Cicchalski's unpaid leave of absence expired on January

8, 2021 and he was removed from the rolls as a recruit.

               95.   Cicchalski's Termination of Employment Letter is dated August 11’11 but he was

still compensated until October with full paycheck and received medical benefits until January of

2021.

               96.   When Robert Smith mentioned Ciechalski wanted to come back to the academy to

Suarez, Suarez said, "lie's too damn old."

                                                          JURISDICTION

               97.   Jurisdiction is in the United States District Court pursuant to 28 U.S.C. §§1331

and 1343(a)(3) & (4) and 42 U.S.C. §§1983, 1985, 1986, the Constitution of the United States

and the Court's supplemental (formerly pendent), and ancillary jurisdiction pursuant to 28 U.S.C.

§1367 for the Plaintiffs' State claims herein.

               98.   The Plaintiffs allege that all causes of action emanate from a common nucleus of

operative facts.




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                                                                   VENUE

               99.    Venue for this action is proper in the Western District of New York pursuant

to 28 U.S.C. §1391 (b)(1) because all Defendants reside within the District, and pursuant to 28

U.S.C. §1391 (b)(2) because the events giving rise to the claims herein occurred within this

District.

                             AS AND FOR A FIRST CAUSE OF ACTION:
                        42 U.S.C. § 19X3 - EMPLOYMENT DISCRIMINATION

               100.   Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in

paragraphs “1” through "99" above as if more fully set forth herein.

               101.   Defendants intentionally discriminated against Plaintiffs on the basis of their race,

national origin, and protected class status.

               102.   Defendants constructively discharged Plaintiff Green as a result of his

performance on the academic evaluations they developed and altered in response to the COVID-

 19 pandemic.

               103.   Upon information and belief, Defendant Bourgeois' decision to alter the

curriculum and cover material in review sessions that would not be on the actual exams was to

prevent African Americans such as Kevin Green from being able to pass the evaluations so they

could be dismissed.

               104.   Defendants also allowed racial comments to be made about the Plaintiffs by

fellow recruits and did not foster a racially neutral environment but perpetuated an environment

that resulted in discrimination based on class characteristics.

               105.   When Plaintiffs asked Defendants for assistance with the course material, they

were denied help and simply told to figure it out on their own.


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                106.   Upon infonnation and belief, some of the graded tests were graded down and

recruits received lower scores than they were actually entitled to.

                107.   Ex-Deputy Commissioner Shannon Street witnessed documentation that led him

to believe that some of the scores of the recruits were being adjusted to support a dismissal when

the Defendants did not like a particular recruit.

                108.   Upon information and belief points were shaved off some recruits written exams

and instructors gave misinformation to recruits that turned out to be incorrect.

                109.   Plaintiffs’ protected status was a motivating factor in the Defendants' actions and

caused Plaintiffs to be subjected to discriminator}' treatment and targeted out.

                110.   Plaintiff Kevin Green was targeted at least in part because he was Black.

                111.   Plaintiff Julian Perez was targeted at least in part because he was Hispanic

                112.   Plaintiff Nick Ciechalski was targeted at least in part because he was Polish and

because of his age.

                113.   Defendant Bourgeois' actions towards Plaintiffs were motivated by animus based

on their protected class characteristics.

                114.   Defendant Bourgeois actions included the removal and unavailability of remedial

classes to practice academic and practical skills, refusal to provide academic assistance and

adequately prepare recruits for what was on the examinations, and subjected Plaintiffs to

additional disparate treatment.

                115.   Defendants' refusal to allow Plaintiff Cielchalski to continue in the Academy

once his injury had recovered was discrimination based on his age.

                116.   For the foregoing reasons, Defendants’ actions are in direct violation of the

provisions of 42 U.S.C. §1983 and the Fourteenth Amendment.



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                               AS AND FOR A SECOND CAUSE OF ACTION:
                42 U.S.C. § 1983 - EMPLOYMENT DISCRIMINATION MONELL LIABILITY

               117.   Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in

paragraphs "1" through "116" above as if more fully set forth herein.

               118.   At all relevant times Defendant City of Buffalo held themselves out as a

competent municipality, with agents, according to, and employees with sufficient knowledge,

skill and expertise to act according to public policy and appoint agents to adequately train

incoming Buffalo Fire Department recruits according to neutral fair standards without preference

based on protected class characteristics.

               119.   At all relevant times Defendant City of Buffalo had a duty to sufficiently hire,

train and retain personnel so as to sufficiently disciple, supervise, and put into effect appropriate

rules relating to the duties, behavior, and activities of their servants, employees, personnel, and

police officers.

               120.   At all relevant times. Defendant City of Buffalo maintained a custom, practice,

and/or policy of failure to train firefighters to adequately prepare firefighter recruits, promotion

of a harmful policy or custom of preferential treatment based on race, national origin, and age,

and negligent retention of Defendant Bourgeois who had clearly demonstrated the inability to

treat recruits with respect and repeatedly violated their constitutional rights.

               121.   As the Buffalo Fire Training Academy's Chief of Training, Defendant Bourgeois

had a duty to establish standards for a fire service training and education program, on a voluntary

basis, and develop and conduct an examination program to certify those fire service personnel

who satisfactorily demonstrate their ability to meet the requirements of the fire service training

and education program standards.



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               122.   Defendant Bourgeois violated his duty to keep the Buffalo Fire Academy free

from racial discrimination and took actions that would encourage discriminatory actions against

Plaintiffs and others.

               123.   City of Buffalo had reason to know about the unlawful actions of Chief

Bourgeois. Deputy Commissioner Shannon Street had raised concerns about what was happening

at the Buffalo Fire Academy and that Defendant Bourgeois was not following the proper chain of

command and reporting employment and personnel issues to him for review.

               124.   Additionally, instructors for the Buffalo Fire Academy were not trained or

prepared to teach a class of recruits, but rather moved from a position in the field to one as an

instructor without any training.

               125.   The City of Buffalo knew to a moral certainty that firefighters who were

untrained as instructors would encounter difficult situations dealing with discriminatory conduct

and other constitutional abuses in training a class of recruits. If these instructors had been

provided with proper training these situations could have been better handled and de-escalated.

               126.   Despite these issues, the City of Buffalo did not take adequate steps to solve

ongoing personnel discrimination occurring at the Buffalo Fire Academy. In fact, through

Commissioner Renaldo, they took active steps to ensure that the constitutional abuses of the

Plaintiffs and others would still occur.

               127.   The City of Buffalo actively adopted Defendant Bourgeois' adverse employment

actions by removing the oversight of Defendant Bourgeois and the Buffalo Training Academy

from Ex-Deputy Shannon Street and moving it to Defendant Suarez who was typically

responsible for oversight of equipment, tools, and apparatus and was known to rubber stamp

Commissioner Renaldo’s requests.



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                128.   This change was initiated and approved by Defendant Commissioner Ronaldo

who approved this action to prevent proper oversight from being exercised over Bourgeois who

continued to commit unconstitutional and discriminatory actions towards the Buffalo Fire

Academy recruits.

                129.   The City of Buffalo's policies, customs, and/or practices allowed Defendants to

deprive Plaintiffs of their rights under both federal and state law, by subjecting them to

discrimination based on their protected characteristics, designing a curriculum intended to

prevent them from passing, and subjecting them to discretionary dismissal from Defendant

Bourgeois without adequate review.

                130.   As a result of Defendants' actions. Plaintiffs lost their drcam to become

firefighters, and were discharged from the Buffalo Fire Academy due to adoption of a policy and

procedure put forth by Bourgeois that led to constitutional abuses and violations of Plaintiffs'

constitutional rights and guaranteed protections.

                                  AS AND FOR A THIRD CAUSE OF ACTION:
                           42 U.S.C. § 1983 - EQUAL PROTECTION (CLASS OF ONE)


                131.   Plaintiff repeats, reiterates, and re-alleges each and every allegation contained in

paragraphs “1" through "130" above as if more fully set forth herein.

                132.   Plaintiffs were intentionally treated differently from other recruits who were

similarly situated and there was no rational basis for the difference in treatment by the

Defendants.

                133.   Other recruits who had failed academic evaluations and field evaluations at the

Buffalo Fire Academy were permitted by Defendant Bourgeois to continue at the Academy and




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ultimately some were offered positions with the Buffalo Fire Department while Plaintiffs were

dismissed for the same or even lower academic performance.

               134.   These recruits had also not received adequate marks under Defendant Bourgeois'

modified rules and regulations, but at the behest of Mayor Brown they were permitted to

continue in the academy.

               135.   Upon information and belief, there was no rational basis for the difference in

treatment and Defendants’ discretion was exercised to intentionally discriminate against

Plaintiffs.

               136.   Upon information and belief. Mayor Brown's direction to Defendant Bourgeois

that some recruits would be permitted to continue despite their academic and field evaluation

failures was based on impermissible considerations to punish recruits for their free expression

and First amendment speech in not supporting his political party and campaign.

               137.   Based on the foregoing reasons, Plaintiffs were treated differently from other

recruits whom the Mayor and Defendants pennitted to continue and there was no rational basis

for the difference in treatment.

                                AS AND FOR A FOURTH CAUSE OF ACTION:
                  42 U.S.C. § 1983 - EQUAL PROTECTION (SELECTIVE ENFORCEMENT)

               138.   Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in

paragraphs “1” through “137" above as if more fully set forth herein

               139.   Plaintiffs were intentionally treated differently from other recruits who were

similarly situated and there was no rational basis for the difference in treatment.

               140.   Other recruits who had failed academic evaluations and field evaluations were

permitted by Defendant Bourgeois to continue at the Academy and ultimately some were offered

positions with the Buffalo Fire Department while Plaintiffs were dismissed.

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                141.   These recruits had also not received adequate marks under Defendant Bourgeois’

modified rules and regulations, but at the behest of Mayor Brown they were permitted to

continue in the academy.

                142.   Upon information and belief, there was no rational basis for the difference in

treatment and Defendants’ discretion was exercised to intentionally discriminate against

Plaintiffs based on their protected class characteristics of race and age, as well as bad faith to

cause them to lose their positions in the Buffalo Fire Academy.

                143.   Based on the foregoing reasons, Plaintiffs were treated differently from other

recruits based on their protected class characteristics of race, national origin, age and were

subject to adverse employment actions of dismissal while other recruits similarly situated were

not.

                                AS AND FOR A FIFTH CAUSE OF ACTION:
                            NEW YORK HUMAN RIGHTS LAW [Executive Law § 2961

                144.   Plaintiffs repeat, reiterate, and rc-allege each and every allegation contained in

paragraphs “1” through "143” above as if more fully set forth herein

                145.   Plaintiffs were members of a protected class. Plaintiff Kevin Green is an African

American. Plaintiff Julian Perez is a Hispanic American. Plaintiff Nick Ciechalski is a Polish

American who is over forty years old.

                146.   All Plaintiffs were qualified to hold their positions with the Buffalo Fire Academy

and would have been able to graduate and secure jobs if not for the Defendants' discriminatory

actions based on their protected characteristics.

                147.   Plaintiff Kevin Green suffered an adverse employment action when he was

dismissed from the Buffalo Fire Academy for academic performance.




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               148.   Plaintiff Julian Perez suffered an adverse employment action when he was

dismissed from the Buffalo Fire Academy for field evaluation failures.

               149.   Plaintiff Nick Cicchalski suffered an adverse employment action when he was

subjected to further risk of injury, which forced him to leave the Spring 2020 Academy and was

denied opportunity to continue in the Academy due to discrimination based on his age.

               150.   All of these adverse actions against the Plaintiffs occurred under circumstances

where the Chief of Training was deliberately changing standards and making it harder for those

in Plaintiffs' protected groups to pass the Buffalo Fire Academy.

               151.   Additionally, actions taken by the Chief of Training Bourgeois against the

Plaintiffs create an inference of discrimination against them based on protected characteristics as

others were permitted to continue despite having similar academic and field evaluation

shortcomings.

               152.   Further, under the regulations promulgated by Bourgeois, there was no

opportunity for recruits to make up any poor pcrfomiance and failure of one subject gave

Bourgeois exclusive discretion to dismiss a recruit who overall had maintained an above 70%

GPA.

               WHEREFORE, Plaintiffs pray for the following relief:

                      A.         On Plaintiffs' first cause of action, a judgment for compensatory damages

in the amount of three million dollars ($3,000,000.00) for each of the three Plaintiffs, plus

reasonable attorney fees pursuant to 42 U.S.C. § 1988. against all Defendants, with punitive

damages against the Defendants in their personal capacities.




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               B.      On Plaintiffs’ second cause of action, a judgment for compensatory damages in

the amount of Three Million Dollars ($3,000,000.00) for each of the three Plaintiffs, plus

reasonable attorney fees pursuant to 42 U.S.C. § 1988, against the City of Buffalo;

               C.      On Plaintiffs' third cause of action, a judgment for compensatory damages in the

amount of Three Million Dollars ($3,000,000.00) for each of the three Plaintiffs, plus reasonable

attorney fees pursuant to 42 U.S.C. § 1988, against all Defendants, with punitive damages

against the Defendants in their personal capacities.

               D.      On Plaintiffs' fourth cause of action, a judgment for compensatory damages in the

amount of Three Million Dollars ($3,000,000.00) for each of the three Plaintiffs, plus reasonable

attorney fees pursuant to 42 U.S.C. § 1988, against all Defendants, with punitive damages

against the Defendants in their personal capacities.

               E.      On Plaintiffs' fifth cause of action, a judgment for in the amount of Three Million

Dollars ($3,000,000.00) for each of the three Plaintiffs, compensatory damages and attorney fees

or any other relief appropriate under the New York State Human Rights law.

               F.      A jury trial on all appropriate issues;

               G.      An award of costs and expenses against the Defendants;

               H.      Any and all other relief this Court may deem appropriate.

                                             DEMAND FOR JURY TRIAL

               The Plaintiffs respectfully request a jury trial of all matters so triable.


Dated: August 21, 2024
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